                Case 2:20-cr-00224-KJD-BNW Document 13
                                                    10 Filed 12/29/20
                                                             12/24/20 Page 1 of 1




                       T. LOUIS PALAZZO, ESQUIRE
                       Nevada Bar No. 4128
                   2   PALAZZO LAW FIRM
                       A PROFESSIONAL LAW CORPORATION
                   3   520 South Fourth Street, Second Floor
                       Las Vegas, Nevada 89101
                   4   Tele: 702/385-3850
                       Fax: 702/385-3855
                   5   Attorney for Defendant
                       Preston A/ookhai Huteson
                   6
                                                  UNITED STA TES DISTRICT COURT
                   7
                                                             DISTRICT OF NEV ADA
                   8
                        UNITED STA TES OF AMERICA,                     CASE NO.:   2:20-cr-00224-KJD-BNW.
                   9
                                                Plaintiff,
                  10
                        vs.
                  11                                                      SUBSTITUTION OF ATTORNEY
                        PRESTON ALOOKHAI HUTESON,
                  12
                                                Defendant.
                  13
                               PRESTON ALOOK.HAI HUTE SON, the undersigned defendant hereby substitutes T.
                  14
                       LOUIS     PALAZZO,       ESQ., of PALAZZO           LAW     FIRM, PROFESSIONAL LAW
                  15
                       CORPORATION, Address: 520 South Fourth Street, Second Floor, Las Vegas, NV 89101,


                                                                                   n \\
                  16
                       Telephone: (702) 385-3850, as attorney of record in place and stead of FRANK P. KOCKA,
                  17   ESQ., of the law office of FRANK P. KOCKA.
                  18              18 day of December, 2020.
                       DATED this __                                            �"'1'1-'l:£=:::;n;::..,
                                                                            PRESTON ALOOllliAI HUTESON
                  19
                       I consent to the above substitution.
                  20
                       DATED this� day of December, 2020.
                  21

   l�:i��}        22   I am duly admitted to practice in this court.
       . !
                  23   Above substitution is accepted.
� �!f�i],i:1�
                  24               24 day of December, 2020.
                       DATED this __                                        /s/ Louis Palazzo
                                                                            T. LOUIS PALAZZO, ESQ.
                  25
                       Please check one:    X      RETAINED, or ___ APPOINTED BY THE COURT
                  26
                                                                 APPROVED:
                  27
                                                      IT IS SO ORDERED
                  28   DATED:. _________
                                                                UNITED
                                                      DATED: 12:36      STATES 29,
                                                                   pm, December    2020 JUDGE
                                                                                DISTRICT




                                                      BRENDA WEKSLER
                                                      UNITED STATES MAGISTRATE JUDGE
